Case 2:04-cV-02322-BBD-tmp Document6 Filed O?/14/05 Page,` _ f3 Page|DQ

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IN THE UNITED STATES DISTRICT CO-URJ*`j nn us 05
FOR THE WESTERN DISTRICT OF TENNQ h H*
WESTERN DIVISION M w

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W §§ z:i'r;§~,t?t%$
United States of America,
Plaintiff,
vs. Civil No. 04-2322-D P

One (1) Rolex Watch, Model #16013,

Defendant.

 

JUDGMENT

 

This action came to consideration before the Court. The issues have been considered and a
decision has been rendered

IT IS THEREFORE ORDERED, ADIUDGED, AND DECREED that:

l. This judgment is entered in accordance with the terms as set forth in the
Consent Order entered on July 30, 2004.

2. The above-styied case is DISMISSED. Each party shall bear its own

attorney’s fees and costs. _

This [,,'1’ day ofUZL_IZV ,2005.

ERNICE B. D NALD
United States District Judge

APPROVED :

TERRELL L. HARRIS

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Unlted States Attorney Thls docume" en

with Ru§e 58 and.-' "

 

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July ]5, 2005 to the parties listed.

 

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

